                                                                               Case 3:14-cr-00175-WHA Document 1100 Filed 10/02/19 Page 1 of 1



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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,
                                                                         11                                                                 No. CR 14-0175 WHA
United States District Court




                                                                                             Plaintiff,
                                                                         12
                               For the Northern District of California




                                                                                v.
                                                                         13                                                                 ORDER RE LETTER RE:
                                                                              PACIFIC GAS AND ELECTRIC                                      PREPARATION FOR HIGH
                                                                         14   COMPANY,                                                      WIND SEASON AND NUMBER
                                                                                                                                            OF FIRES (GREATER OR
                                                                         15                  Defendant.                                     EQUAL TO 10 ACRES IN SIZE)
                                                                                                                     /
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                                                                         17          By OCTOBER 9 AT NOON, PG&E shall file a response on the public docket providing

                                                                         18   precise details regarding the two ignitions due to vegetation and the one ignition due to

                                                                         19   equipment that resulted in fires ten acres or greater in 2019. Specifically, the response shall

                                                                         20   address the total acreage of the fires caused, the location, the name, the timing, the structures

                                                                         21   burned, the exact cause of the fires, and any other pertinent details.

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                                                                         23          Dated: October 2, 2019.
                                                                                                                                        WILLIAM ALSUP
                                                                         24                                                             UNITED STATES DISTRICT JUDGE

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